Case 1:18-cv-00211-TSE-JFA Document 261 Filed 06/20/19 Page 1 of 2 PageID# 7181



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

 SIMRET SEMERE TEKLE,                      )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )           Case No.: 1:18cv00211 (TSE/JFA)
                                           )
 NOUF BINT NAYEF ABDUL-AZIZ AL SAUD )
 and MOHAMMED BIN ABDULLAH AL SAUD, )
                                           )
       Defendants.                         )
 __________________________________________)

                          NOTICE OF STIPULATED DISMISSAL

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties, by and through

 undersigned counsel, submit this Notice of Stipulated Dismissal dismissing Defendants’

 counterclaim with prejudice.

        Dated: June 20, 2019                        Respectfully submitted,


 /s/ Nicholas Cooper Marritz         .              /s/ John L. Brownlee
 Nicholas Cooper Marritz, VSB #89795                John L. Brownlee (VSB #37358)
 Legal Aid Justice Center                           Stuart G. Nash (pro hac vice)
 6066 Leesburg Pike, Suite 520                      David L. Haller (pro hac vice)
 Falls Church, VA 22041                             Robert J. Farlow (VSB #87507)
 (703) 750-5607                                     HOLLAND & KNIGHT LLP
 nicholas@justice4all.org                           1650 Tysons Boulevard, Suite 1700
                                                    Tysons, VA 22102
 Counsel for Plaintiff Simret Semere Tekle          Telephone: 703.720.8600
                                                    Facsimile: 703.720.8610
                                                    Email: John.Brownlee@hklaw.com
                                                    Email: Stuart.Nash@hklaw.com
                                                    Email: David.Haller@hklaw.com
                                                    Email: Robert.Farlow@hklaw.com

                                                    Counsel for Defendants Mohammed bin
                                                    Abdullah al Saud and Nouf bint Nayef
                                                    Abdul-Aziz al Saud
Case 1:18-cv-00211-TSE-JFA Document 261 Filed 06/20/19 Page 2 of 2 PageID# 7182



                                 CERTIFICATE OF SERVICE

         I certify that on this 20th day of June, 2019, a true copy of the foregoing was served via

 electronic case filing to:

 Nicholas Cooper Marritz                              Richard F. Levy
 Legal Aid Justice Center                             Jenner & Block LLP
 6066 Leesburg Pike, Suite 520                        1099 New York Avenue NW, Suite 900
 Falls Church, VA 22041                               Washington, DC 20001
 nicholas@justice4all.org                             rlevy@jenner.com

 Jonathan A. Langlinais                               Agnieszka M. Fryszman
 Jenner & Block LLP                                   Cohen Milstein Sellers & Toll PLLC
 1099 New York Avenue NW, Suite 900                   1100 New York Avenue NW, Fifth Floor
 Washington, DC 20001                                 Washington, DC 20005
 jalanglinais@jenner.com                              afryszman@cohenmilstein.com

 Le’ake Fesseha                                       Martina Elizabeth Vandenberg
 Le’ake Fesseha Law Office                            The Human Trafficking Legal Center
 901 S. Highland Street, Suite 312                    1030 15th Street NW, Suite 1048
 Arlington, VA 22204                                  Washington, DC 20005
 leakef@hotmail.com                                   mvandenberg@htlegalcenter.org

 Sarah Linnell Bessell                                Andrew B. Cherry
 The Human Trafficking Legal Center                   Jenner & Block LLP
 1030 15th Street NW, Suite 1048                      1099 New York Avenue NW, Suite 900
 Washington, DC 20005                                 Washington, DC 20001
 sbessell@htlegalcenter.org                           acherry@jenner.com

 Satinek Harutyunyan                                  Simon Y. Sandoval-Moshenberg
 Jenner & Block LLP                                   Legal Aid Justice Center
 1099 New York Avenue NW, Suite 900                   6066 Leesburg Pike, Suite 520
 Washington, DC 20001                                 Falls Church, VA 22041
 sharutyunyan@jenner.com                              simon@justice4all.org

 Counsel for Plaintiff Simret Semere Tekle


                                                      /s/ John L. Brownlee
                                                      John L. Brownlee (VSB #37358)




                                                 2
